                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION
                                   AT KANSAS CITY

Geri Bachman,


         Plaintiff,



vs.
                                                      Case No.        4:23-cv-00931-FJG

Hickman Mills C-1 School District, et
al.



                   Defendants.




           Notice of Stipulated, Partial Voluntary Dismissal

      Comes now Plaintiff, Geri Bachman, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and (ii)
and dismisses her claims against Carol Graves, Byron Townsend, Ann E. Coleman, Irene
C. Kendrick, Beth Boerger, and Brandon Wright in their official Capacities as Directors of
the Board of Education.
      Further, Plaintiff dismisses Yaw Obeng and Derrick Jordan, Sr., from her Title VII
claims in Counts V and VI.
      Plaintiff specifically retains, and does not dismiss, her other claims, including but not
limited to her claims against Defendant Hickman Mills C-1 School District and her other
claims against Defendants Obeng and Jordan.
      The dismissal is without prejudice, each party to bear its own costs and fees.




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   Counsel for Defendants have consented to said dismissal, and have not filed an
answer or motion for summary judgment. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the
dismissal is permitted without a Court order.


                                            Respectfully submitted,
                                            Law Offices of Jonathan R
                                            Whitehead LLC
                                            _/s/ Jonathan R. Whitehead_________
                                            Jonathan R. Whitehead Mo. 56848
                                            229 S.E. Douglas St., Ste. 210
                                            Lee's Summit, Mo 64063
                                            816.398.8305 - Phone
                                            816.278.9131 - Fax
                                            Attorney for Plaintiff



                             Certificate of Service

    I certify that on April 29, 2024, I electronically filed a true and correct copy of the
foregoing with the Clerk of the Court using the CM/ECF system and that all counsel
of record will be served a notice of electronic filing generated by the CM/ECF
system.

                                                /s/Jonathan R. Whitehead
                                                   Attorney for Plaintiff




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